                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )
                                               )
 v.                                            )       Case No. 1:06-CR-140
                                               )
 KELVIN LLOYD                                  )       COLLIER/CARTER


                              REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on May 29, 2007.

 At the hearing, defendant entered a plea of guilty to Count One of the Indictment, to the extent it

 charges a conspiracy to distribute marijuana in violation of 21 U.S.C. §§ 846, 841(a)(1) and

 (b)(1)(B), in exchange for the undertakings made by the government in the written plea

 agreement. On the basis of the record made at the hearing, I find that the defendant is fully

 capable and competent to enter an informed plea; that the plea is made knowingly and with full

 understanding of each of the rights waived by defendant; that it is made voluntarily and free from

 any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

 understands the nature of the charge and penalties provided by law; and that the plea has a

 sufficient basis in fact.

         I therefore recommend that defendant's plea of guilty to Count One of the Indictment, to

 the extent it charges a conspiracy to distribute marijuana in violation of 21 U.S.C. §§ 846,

 841(a)(1) and (b)(1)(B), be accepted, that the Court adjudicate defendant guilty of those charges

 as set forth in Count One of the Indictment, and that the written plea agreement be accepted at

 the time of sentencing. I further recommend that defendant remain on bond sentencing in this


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 matter.1 Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

 imposition of sentence are specifically reserved for the district judge.

        The defendant’s sentencing date is scheduled for Thursday, September 6, 2007, at 9:00

 a.m.




 Dated: May 29, 2007                                   s/William B. Mitchell Carter
                                                       UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than ten days after the plea
 hearing. Failure to file objections within ten days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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          I find exceptional reasons pursuant to Title 18 U.S.C. § 3145(c) to allow defendant to
 remain on the same conditions of bond. First, defendant has had no problems while on release
 and is therefore neither a risk of flight or danger to the community. Second, defendant’s wife is
 having a difficult pregnancy and continues to have some difficulties. Third, defendant is on
 disability because of a previous back surgery and has x-rays scheduled with Veteran’s
 Administration doctors in preparation for anticipated back surgery.

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